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                 Exhibit 7
Exclusive: Trump's 3,500 lawsuits unprecedented for a presidential nominee https://www.usatoday.com/story/news/politics/elections/2016/06/01/dona...
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          NEWS


          Exclusive: Trump's 3,500 lawsuits
          unprecedented for a presidential
          nominee
          Nick Penzenstadler, and Susan Page USA TODAY
          Published 3:17 p.m. ET June 1, 2016   Updated 1:24 p.m. ET Oct. 23, 2017


          Donald Trump is a fighter, famous for legal skirmishes over everything from his golf
          courses to his tax bills to Trump University. But until now, it hasn’t been clear
          precisely how litigious he is and what that might portend for a Trump presidency.

          An exclusive USA TODAY analysis of legal filings across the United States finds that the
          presumptive Republican presidential nominee and his businesses have been involved in at
          least 3,500 legal actions in federal and state courts during the past three decades. They
          range from skirmishes with casino patrons to million-dollar real estate suits to personal
          defamation lawsuits.

          The sheer volume of lawsuits is unprecedented for a presidential nominee. No candidate of
          a major party has had anything approaching the number of Trump’s courtroom
          entanglements.

          Just since he announced his candidacy a year ago, at least 70 new cases have been
          filed, about evenly divided between lawsuits filed by him and his companies and those
          filed against them. And the records review found at least 50 civil lawsuits remain open
          even as he moves toward claiming the nomination at the Republican National Convention
          in Cleveland in seven weeks. On Tuesday, court documents were released in one of the
          most dramatic current cases, filed in California by former students accusing Trump
          University of fraudulent and misleading behavior.

          The legal actions provide clues to the leadership style the billionaire businessman would
          bring to bear as commander in chief. He sometimes responds to even small disputes with
          overwhelming legal force. He doesn’t hesitate to deploy his wealth and legal


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          firepower against adversaries with limited resources, such as homeowners. He sometimes
          refuses to pay real estate brokers, lawyers and other vendors.

          As he campaigns, Trump often touts his skills as a negotiator. The analysis shows that
          lawsuits are one of his primary negotiating tools. He turns to litigation to distance himself
          from failing projects that relied on the Trump brand to secure investments. As USA
          TODAY previously reported, he also uses the legal system to haggle over his property tax
          bills. His companies have been involved in more than 100 tax disputes, and the New York
          State Department of Finance has obtained liens on Trump properties for unpaid tax bills
          at least three dozen times.

          Exclusive: More than 100 lawsuits, disputes, tied to Trump and his companies

          And despite his boasts on the campaign trail that he “never” settles lawsuits, for fear of
          encouraging more, he and his businesses have settled with plaintiffs in at least 100 cases
          reviewed by USA TODAY. Most involve people who say they were physically injured at
          Trump properties, with settlements that range as high as hundreds of thousands of
          dollars.

          Alan Garten, general counsel for the Trump Organization, said in an interview that the
          number and tenor of the court cases is the “cost of doing business” and on par with other
          companies of a similar size. "I think we have far less litigation of companies of our size," he
          said.

          However, even by those measures, the number of cases in which Trump is involved is
          extraordinary. For comparison, USA TODAY analyzed the legal involvement for five top
          real-estate business executives: Edward DeBartolo, shopping-center developer and former
          San Francisco 49ers owner; Donald Bren, Irvine Company chairman and owner; Stephen
          Ross, Time Warner Center developer; Sam Zell, Chicago real-estate magnate; and Larry
          Silverstein, a New York developer famous for his involvement in the World Trade Center
          properties.

          To maintain an apples-to-apples comparison, only actions that used the developers'
          names were included. The analysis found Trump has been involved in more legal
          skirmishes than all five of the others — combined.

          The USA TODAY analysis included an examination of legal actions for and against Trump
          and the more than 500 businesses he lists on the personal financial disclosure he


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          filed with the Federal Election Commission. USA TODAY also reviewed five depositions in
          which Trump sat for 22 hours of sworn testimony. This report is based on those legal
          filings as well as interviews with dozens of his legal adversaries.

          A handful of the ongoing cases involve local or state government entities, with the
          possibility of personal legal disputes between the president of the United States and other
          branches of government if Trump is elected. For instance, the Trump team has filed a
          lawsuit seeking a state ethics investigation of the New York attorney general. The suit was
          filed in response to an ongoing fraud investigation into Trump University by the attorney
          general, an elected state official.

          Trump, New York attorney general spar again over Trump U.

          And at a campaign rally in San Diego last Friday, Trump railed against a federal judge
          overseeing an ongoing lawsuit against Trump University. Trump said Judge Gonzalo
          Curiel "happens to be, we believe Mexican," and called him a "hater of Donald Trump"
          who "railroaded" him. Born in Indiana, Curiel was appointed to the federal bench by
          President Obama. The judge on Tuesday unsealed hundreds of pages of documents in the
          case.

          The trial is set for November — just after Election Day.

          Trump’s history of legal actions provides clues about his style as a leader and manager.
          While he is quick to take credit for anything associated with his name, he is just as quick to
          distance himself from failures and to place responsibility on others. In one lawsuit — filed
          against him by condo owners who wanted their money back for a Fort Lauderdale condo
          that was never built — he testified in a sworn deposition: “Well, the word ‘developing,’ it
          doesn't mean that we're the developers.”

          At times, he and his companies refuse to pay even relatively small bills. An engineering
          firm and a law firm are among several who filed suits against Trump companies saying
          they weren't paid for their work. In a 2011 deposition tied to a dispute over his deal with
          Van Heusen menswear, he said he abruptly decided not to sign a check to a firm that
          helped broker the deal, after 11 consecutive quarterly payments, because "I don't feel that
          these people did very much, if anything, with respect to this deal.”

          The number of lawsuits raises questions about potential conflicts and complications if
          Trump does win the White House. Dozens of cases remain unresolved, about half in which


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          he is the plaintiff. It raises the possibility of individuals being sued by the president of the
          United States, or suing him, in non-governmental disputes.

          Under the law, Trump wouldn’t get special advantages as the plaintiff — or protections as
          a defendant. Under long-standing conflict-of-interest rules, as a plaintiff he couldn’t
          improperly benefit from governmental knowledge. He also wouldn’t get immunity from
          civil litigation that stemmed from events prior to taking office.

          How USA TODAY NETWORK gathered Trump court files

          Together, the lawsuits help address this question: How would Trump’s record in business
          translate into leading the most powerful government on the globe — a task that involves
          managing a $4 trillion annual budget, overseeing 1.8 million civilian federal employees
          and commanding the most powerful armed forces in the world?

          While leaders who had business careers sometimes have been elected to the White House
          — oilmen George H.W. Bush and George W. Bush, for instance, and mining engineer
          Herbert Hoover — the jobs have some fundamental differences, political scientists and
          presidential historians say. A president can't rule by fiat, as some CEOs do. And getting
          things done in government often involves building coalitions among legislators and
          foreign leaders who have their own priorities and agendas.

          “He’s operating as his own boss and a CEO-on-steroids mentality, where you snap a finger
          and things get done,” said presidential historian Douglas Brinkley, who has written
          biographies of Franklin Roosevelt and Teddy Roosevelt and edited Ronald Reagan’s
          diaries. “But a lot of good governance is on learning how to build proper coalitions and
          how to have patience with the glacial pace of government, and you’re forced to abide by
          laws at all times. "

          Brinkley sees "a lot of warning signs about having someone of Trump’s temperament and
          professional disposition being the commander-in-chief.”




          To be sure, likely Democratic presidential nominee Hillary Clinton has had her own legal
          challenges, including an ongoing FBI investigation and civil lawsuits into her exclusive use
          of an email server while secretary of State. When husband Bill Clinton was president, she
          was involved in investigations by special counsels looking into the Whitewater land deal in


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          Arkansas and other controversies. None resulted in legal charges against her.

          During her time as first lady, U.S. senator from New York and secretary of State, Clinton
          has been named in more than 900 lawsuits, mostly as a defendant, a review of state and
          federal court records finds. More than a third of the lawsuits were filed by federal
          prisoners, political activists or other citizens seeking redress from the government by
          suing a list of high-ranking officials.

          The USA TODAY analysis identified at least 3,500 legal actions involving Trump.
          Reporters reviewed thousands of pages of records collected electronically and in person
          from courts in 33 states over three months, read more than 20 hours of depositions and
          interviewed dozens of litigants.

          Among those cases with a clear resolution, Trump's side was the apparent victor in
          451 and the loser in 38. In about 500 cases, judges dismissed plaintiffs' claims against
          Trump. In hundreds more, cases ended with the available public record unclear about the
          resolution.

          Close to half the court cases — about 1,600 — involved lawsuits against gamblers who had
          credit at Trump-connected casinos and failed to pay their debts. About 100 additional
          disputes centered on other issues at the casinos. Trump and his enterprises have been
          named in almost 700 personal-injury claims and about 165 court disputes with
          government agencies.

          Dozens dealt with the bankruptcy proceedings of Trump's companies, and dozens more
          involved plaintiffs' lawsuits against Trump businesses that judges terminated because the
          Trump companies targeted had gone bankrupt.

          They include Trump's ongoing suit against the town of Palm Beach over airplane noise
          near his Mar-a-Lago Club and an earlier lawsuit against the town over an 80-foot flag pole.
          Trump's team argued in court that a smaller flag would understate his patriotism, but he
          eventually settled with town officials, agreeing among other concessions to lower the pole
          by 10 feet.

          There also are disputes with local governments from New York to Florida to Nevada over
          the size of his property-tax bills.

          The terms of most of the 100 settlements that Trump and his businesses reached with
          plaintiffs have not been disclosed. In about 60 additional cases, those sued by the Trump


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          side have settled with him.

          A few have become fodder on the campaign trail, including two breach-of-contract
          lawsuits he filed against restaurateurs in connection with Trump's development of the Old
          Post Office on Pennsylvania Avenue in Washington. The businesses said they backed out
          of deals with Trump because of his derogatory comments about Mexicans. Both lawsuits
          are pending.

          The luxury Trump hotel will have a prime view of the Inaugural Parade next January.

          Review of thousands of legal actions show that Trump is fiercely protective of his brand,
          quick to distance himself from deals that struggle, willing to deploy outsized resources
          against adversaries and sometimes prone to micro-management, even in disputes that
          involve relatively small amounts of money. Those approaches, however appropriate in a
          business setting, may not translate to a political one, especially at the level of the White
          House.

          Among the details:

          • Trump distances himself from deals that sour.

          When projects struggle, Trump doesn’t hesitate to cut ties, even those that relied on his
          name to secure investments. That was the case in condo projects that were never
          completed in Fort Lauderdale, Tampa, Panama and Baja, Mexico.

          Condo buyers who sued to get their deposits back often said they believed Trump was a
          full partner in the buildings. Trump was shielded by disclaimers in sales agreements
          explaining his branding-only role, though plaintiffs and their lawyers argued in court that
          fine print didn’t sync with marketing materials that made it appear these were Trump
          properties.

          In depositions and court filings in the condo cases and similar branding deals, Trump's
          team appears to try to have it both ways in depicting his involvement. On one hand,
          Trump contends deep influence over even the smallest details to ensure Trump-branded
          products and developments are up to his standard, and he places high importance on the
          influence of his marketing muscle in such deals — usually as the lead name, face and voice
          behind a project.

          On the other hand, his team argues in court that he's not liable for the deals that fail


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          because he's simply lent his name.

          Trump himself walked lawyers through the difference between a brander and a developer
          in a 2013 deposition in one of the Fort Lauderdale condo cases.

          “Well, the word ‘developing,’ it doesn't mean that we're the developers,” Trump said,
          arguing he’s not accountable when a project he lends just his name to goes under. “We
          worked on the documents, we worked on the room sizes and the things, but we didn't give
          out the contracts, we didn't get the financing, we weren't the developer, but we did work
          with the developer.”

          In lawsuits over his Trump University, he testified that he had never met instructors who
          were described in the university’s promotional materials as being “handpicked” by him. “It
          depends on the definition of what that means, handpicked,” Trump said during an
          exchange with a lawyer in a sworn deposition last December.

          When attorneys representing plaintiffs pointed out some instructors had criminal pasts
          and had been accused of berating seniors who signed up for the program, Trump replied:
          “In every business, people slip through the cracks.”

          Florida attorney Sherri Simpson, who defends homeowners in foreclosure actions, said she
          signed up for Trump University classes because she hoped to capitalize on low prices
          during the housing downturn. She wanted to turn to a trusted real-estate name to learn
          how.

          “I’m aggravated that I lost all that money,” she said in an interview. “He promised to hire
          the best, to handpick the instructors, make sure everyone affiliated with the program was
          the best. But he didn’t do that.”

          • Trump is willing to spend large sums on small claims.

          No detail is too small for a Trump suit, and he often brings to bear overwhelming legal
          resources that enable him to outlast his adversaries.

          In February, he filed five lawsuits against eight neighbors of his Doral golf club in
          Miami for $15,000 in damages to reimburse him for "vandalizing" or "destroying"
          expensive areca palms and other plants his groundskeepers installed between their homes
          and the course. Trump's staff says the foliage was planted to block golfers' views of the
          houses; the homeowners say the trees blocked their views of the course. All five cases


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          are pending.

          “No other developer put so many resources in trying to fight claims brought by the
          plaintiffs,” said Jared Beck, a Miami attorney who has represented dozens of clients in
          lawsuits against developers in South Florida. He said none has fought with the tenacity of
          Trump, citing a “mismatch of resources” that often works in Trump’s favor.

          Beck is now appealing to the Florida Supreme Court a case that dates to 2008 in which he
          represented a group of people who invested in condos in a failed development in Fort
          Lauderdale to which Trump licensed his name. “He is willing to go to the mat and has
          practically unlimited resources.”

          • Trump fiercely protects the monetary value of “Trump” as a brand name.

          Trump publicly has placed the value of his licensed real estate and other branding deals at
          $3.3 billion, though Forbes and other analysts question whether the figure is
          inflated. His moniker drives the value of his licensing deals, which now make up an
          important arm of his business model.

          In one case, a South Florida developer hired experts who testified that having Trump's
          name attached to their proposed condominium development boosted the condos' value by
          at least $200 per square foot. The swanky seaside complex was only partially built,
          prompting some condo buyers to file a lawsuit against Trump and the developers seeking
          to recover their deposits. The developers had paid to license Trump’s brand, allowing them
          to use Trump’s name, his image and his reputation to help them sell units.

          Trump has attempted to pull out or distance himself from similar licensing deals, real
          estate and otherwise, if he feels the situation is hurting his brand. He also goes to court to
          collect royalties and other fees he says he's owed on those same kinds of deals.

          “Anything I put my name to is very important,” Trump said in a 2010 deposition tied to a
          failed real-estate development in Tampa licensed to carry Trump’s “mark," as he calls it.
          "If I allow my name to be used, whether it’s a partnership or whether it is a licensing deal,
          they are all very important to me.”

          Trump sued for $4.5 million over unpaid royalties after a company that had been paying
          him to call its liquor Trump Vodka fell on hard times during the economic downturn,
          hurting sales of pricier spirits. The company stopped making its licensing payments, and
          Trump terminated the deal and sued to recoup what he was owed. He won a judgment for


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          the amount, though it's unclear whether he ever collected from the troubled company.

          And he has been aggressive in suing unrelated companies that were using his name
          without permission. He won rulings over attempts to market Trump’s Best Coffee, a series
          of websites with names like trumpabudhabi.com and trumpbeijing.com, and a marketing
          agency calling itself Trump Your Competition.

          Trump’s general counsel, Garten, defended the number of lawsuits. “Our philosophy is
          that we are a company of principle,” he said. “When we believe we are in the right, we are
          going to pursue the matter to the end. If that requires that we go to trial and present
          evidence to a jury, we are prepared to do so. We are not going to cave to pressure.”

          But experts in the presidency and business say Trump’s record, including in courtroom
          disputes, raise questions about whether he has exhibited the leadership qualities that have
          distinguished the nation’s most successful presidents.

          “Somebody like Lyndon Johnson was a guy who woke up in the morning studying the
          decisions and the hopes and the strengths and the weaknesses of all the people he had to
          influence,” said Jeffrey Pfeffer, a professor at the Stanford Graduate School of Business
          and author of Leadership BS: Fixing Workplaces and Careers One Truth at a Time. “For
          that, you need two traits I think Trump lacks: Number one, an attention to detail, and
          number two, you have to subordinate your own ego. I’ve seen nothing from Trump that
          suggests he has that capacity, and government is the art of compromise.”

          Trump’s lack of government experience was a political advantage during the GOP
          primaries, reinforcing his status as an outsider vowing to shake up a dysfunctional
          Washington. But it threatens to be a liability in the general election. In an NBC News/Wall
          Street Journal poll released last week, six in 10 voters said they had reservations about or
          were uncomfortable with Trump’s lack of experience in government or the military.

          Even so, some of those who have sued Trump, been sued by him or otherwise been caught
          up in his legal wake, say they still may vote for him in November.

          Philip Monnin represented his daughter, Miss Pennsylvania contestant Sheena Monnin, in
          a defamation suit Trump filed after she posted on Facebook that she thought the 2012
          Miss USA Pageant was “rigged.” An arbitration ruling upheld by a federal judge ordered
          her to pay $5 million in damages, although she and Trump eventually settled out of court
          for an undisclosed lesser amount. Monnin, who lives in Michigan, said the suit


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           demonstrated Trump’s bullying tactics and attempts to intimidate legal opponents.

           But he doesn’t rule out voting for Trump for president. “Both sides have failed to bring
           satisfactory candidates,” he said in an interview. “I don’t think any of us in the family has
           decided what to do, and we have a lot of time to consider how to cast our votes.”

           Contributing: David McKay Wilson, Karen Yi, John Kelly and Kevin McCoy

           Exclusive: Trump's 3,500 lawsuits unprecedented for a presidential nominee

           USA TODAY exclusive: Hundreds allege Donald Trump doesn't pay his bills

           Trump, companies accused of mistreating women in at least 20 lawsuits

           Exclusive: More than 100 lawsuits, disputes over taxes tied to Trump and his companies

           Dive into Donald Trump's thousands of lawsuits

           Trump casino empire dogged by bad bets in Atlantic City

           As campaign rolls on, so do Trump's lawsuits in Florida

           How USA TODAY NETWORK is tracking Trump court files

           Trump and the Law




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